                United States District Court
                Middle District of Tennessee
                    Office of the Clerk
                    719 Church Street
        Fred D. Thompson United States Courthouse
               Nashville, Tennessee 37203
                     (615) 736−5498


     NOTICE REGARDING BUSINESS ENTITY
          DISCLOSURE STATEMENT

Pursuant to Local Rule 7.02 of the United States District
Court for the Middle District of Tennessee, any non−
governmental business entity party shall file a
Business Entity Disclosure Statement, using the form
located on the Court's website.

A party shall file the Business Entity Disclosure
Statement as a separate document with its initial
pleading, or other initial Court filing, and shall
supplement the Business Entity Disclosure Statement
within a reasonable time of any change in the
information.
https://www.tnmd.uscourts.gov/forms/business−entity−disclosure−form/




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